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                     UNITED STATES DISTRICT COURT
                    DISTRICT COURT OF MASSACHUSETTS


                              )                MISC. BUSINESS DOCKET
IN RE: CHRISTOPHER L. MALCOLM )                1:24-mc-91525-IT
                              )




                MOTION TO ENLARGE TIME TO FILE RESPONSE


       NOW COMES prior counsel for the Defendant, HARRY TAM, known

as the Respondent in the above-captioned matter, the subject of

the matter In Re: Christopher L. Malcolm, and respectfully requests

that this Honorable Court grant Respondent Attorney Malcolm a

further extension to file a formal response to show cause why

action should not be taken prior to the requested Hearing in the

normal course to address the substance of the show cause matter to

raise disputed material fact and the nature of discipline to be

imposed.

       As grounds, Respondent Malcolm has been addressing responses

related    to   petition    for   temporary     suspension       before    the

Massachusetts Supreme Judicial Court and in January 2025, the

Office of Bar Counsel filed a Complaint for Contempt regarding

said matter.     The hearing is set for February 4, 2025 at 10am as

of this filing. On or about January 22, 2025 it is my understanding

that    Respondent’s    prior     counsel    received      the       complaint.

Respondent has been working on the response for that complaint and

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the response due in this matter without counsel, but it will not

be completed as currently required due to changed circumstances.

On or about January 28, 2025, counsel for Respondent filed a motion

to    withdraw,      and    this    was     allowed      the       following      morning.

Respondent was working with prior counsel on this matter before

this Honorable Court and the state matter until he had to withdraw

due to breakdown in communication.                 Respondent did not receive a

copy of complaint until Office of Bar Counsel sent a copy on or

about January 29, 2025 directly to Respondent.                               Accordingly,

Respondent needed to switch focus, seeks new counsel, and work on

a    response   to    the    matter       before   the       SJC    and    this     matter.

Respondent is still looking for counsel at this time and seeks an

extension to retain new counsel, finish preparation, and finish a

formal     response    to    this     matter       in    a     more     timely      manner.

Respondent needs additional time to properly address this matter

with the time, resources, and undivided attention it deserves and

calls for, but he has not had sufficient time to complete this

important response.

       A   further    extension       for    filing      and        extension      of   any

anticipated       hearing      is     hereby       requested           and       Respondent

respectfully suggests that said extension of this matter best

serves the interests of justice, the swift administration of

justice, the best use of judicial resources, and preserves judicial

economy.    Respondent hereby requests that the response deadline be

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extended until 3/3/2025 by 4:00PM or 2/28/2025 by 4:00PM in the

alternative.     This will allow Respondent time to obtain funds,

seek successor counsel, and prepare with said counsel to properly

address    and   respond      to    the   serious    allegations      before    this

Honorable    Court.     If    the    Court   would     like     information,        the

Respondent seeks leave to file under seal.

     WHEREFORE, the Respondent of the matter In re: Christopher L.

Malcolm    respectfully       requests     this     Honorable      Court   allow     an

extension to obtain successor counsel and file a written response

to 3/3/25 or the extension deemed appropriate by this Honorable

Court.      Respondent       respectfully    requests       that    his    motion    be

ALLOWED.



                                             Respectfully submitted,
                                             Respondent,

                                              /s/ CLMALCOLM
                                             __________________________
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Date:     1/31/25                            B.B.O. No. 684440




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